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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF OKLAHOMA

JIMMIE McCOY, III                                  )
                                                   )
               Plaintiff,                          )
                                                   )
v.                                                 )            CIV-23-057-JFH-JAR
                                                   )
BARTON TAYLOR and MARTINEZ,                        )
                                                   )
               Defendants.                         )

       ORDER STAYING PROCEEDINGS AND REQUIRING SPECIAL REPORT

       The court has determined that an investigation and report would be helpful in determining

whether there are any factual or legal bases for Plaintiff’s claims. See Hall v. Bellmon, 935 F.2d 1106

(10th Cir. 1991); Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978).

       ACCORDINGLY, IT IS HEREBY ORDERED that:

       (1)     Officials responsible for the institution(s) involved in the alleged civil rights violation

               shall undertake a review of the subject matter of the complaint:

               (a)      to ascertain the facts and circumstances;

               (b)      to consider whether any action can and should be taken by the institution(s)

                        or other appropriate officials to resolve the subject matter of the complaint;

                        and

               (c)      to determine whether other like complaints, whether pending in this court or

                        elsewhere, are related to this complaint and should be taken up and considered

                        together.

       (2)     In the conduct of the review, a written report shall be compiled and filed with the

               court. Authorization is granted to interview all witnesses including Plaintiff and

               appropriate officers of the institution(s).        Wherever appropriate, medical or

               psychiatric examinations shall be made and included in the written report. Any rules
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        and regulations pertinent to the subject matter of the complaint shall be included in

        the written report.

  (3)   All pending motions in this case are hereby stricken without prejudice.              No

        applications, motions, or discovery should be filed or considered until the steps set

        forth in this Order have been completed, except as the court further orders.

  (4)   It is desired that the report made in the course of this investigation be attached to and

        filed with Defendants’ answer or dispositive motion. The report and Defendants’

        answer or dispositive motion, shall be filed no later than sixty days from this

        date.


                        16th day of May 2023.
  IT IS SO ORDERED this ____




                                           2
